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 5
 6   Attorney for Defendant
     VALERI MYSIN
 7
 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )                   2:12-cr-00051-MCE
                                      )
12                    Plaintiff       )
                                      )                   STIPULATION AND
13              vs.                   )                   ORDER
                                      )
14                                    )
     BEKNAZAROV, et al.               )
15                                    )
                      Defendant.      )
16   ________________________________ )
17
18          The United States, through its undersigned counsel, and the defendants, through their
19   undersigned counsel, hereby agree and stipulate that the status conference, which is currently
20   scheduled for May 10, 2012 at 09:00 a.m. in Courtroom 7 should be vacated and continued to
21   June 28, 2012, at 9:00 a.m.
22          All counsel agree that time should be excluded under the Speedy Trial Act from the date
23   this stipulation is lodged through June 28, 2012.
24          The parties stipulate and agree that the continuance requested herein is necessary to
25   provide defense counsel reasonable time to prepare their respective clients’ defenses and taking
26   into account due diligence, the parties agree that the interests of justice in granting this
27   reasonable request for a continuance outweigh the best interests of the public and defendants for
28   a speedy trial in this case, pursuant to Title 18 USC § 3161(H)(7)(B)(iv) and Local Code T4.


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 1   Dated: May 9, 2012                                   /s/ Lee Bickley
                                                        LEE BICKLEY
 2                                                      Assistant U.S. Attorney
 3   Dated: May 9, 2012                                  /s/ John R. Duree, Jr.
                                                        JOHN R. DUREE, JR.
 4                                                      Attorney for Valeri Mysin
 5   Dated: May 9, 2012                                  /s/ Philip Cozens
                                                        PHILIP COZENS
 6                                                      Attorney for Anatoliy Beknazarov
 7   Dated: May 9, 2012                                  /s/ Christopher Cosca
                                                        CHRISTOPHER COSCA
 8                                                      Attorney for Valentina Beknazarov
 9   Dated: May 9, 2012                                  /s/ Julia Young
                                                        JULIA YOUNG
10                                                      Attorney for Valeri Kolesnikov
11
12
13                                             ORDER
14         The Motion is DENIED. Counsel was ordered to appear, and did appear, on May 10,
15   2012. The stipulation to vacate and continue the status conference is therefore moot.
16         IT IS SO ORDERED.
17
18    Dated: May 16, 2012

19                                              ________________________________
                                                MORRISON C. ENGLAND, JR.
20                                              UNITED STATES DISTRICT JUDGE
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